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VI. CAUSE OF ACTION

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Case 2:15-CV-01314-RA.] Document 37 Filed 10/02/15

UNITE[) STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

Amelia L. Butler

Plaintiii`

Vs.

New Horizon Great Lakes I-Iolding Corporation and
M & J LLC
Defendants

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Coversheet part 2 of 2

List of documents enclosed include:

l. UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF WASHINGTON
Complaint form titled “Ccmplaint “
2. Plaintiff Amelia L. Butler Am@nded Claims upon which relief can be

granted and Amelia L. Butler complaint (Plaintiff complaint part 2

3. Summcns -DCS( _(:_’CLL`/\ MwO/\&'

4.

agreements

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(Plaintiff complaint part l)

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Honorable Judge J ones
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Case 2:15-CV-01314-RA.] Document 37 Filed 10/02/15 Page 3 of 24

Licensor usage guidelines

6. AAA rules for consumers that apply

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Case 2:15-CV-01314-RA.] Document 37 Filed 10/02/15 Page 4 of 24

UNlTED STATES DlSTRlCT COURT FOR THE
WESTERN DlSTRlCT OF WASH|NGTON

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Plaintiff(s)

VS.

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\ COMPLA|NT
1261 Q,V`?(\Mo\fitnc QOV\C>O 01q @\Qr)¢\o¥?_
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Defendant(s),

 

Parties to this Complaint:
P|aintiff's Name, Address and Phone Number

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Defendant's Name, Address and Phone Number

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Defendant‘s Name, Address and Phone Number

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(lf you have more defendants, list them using the same outline on another piece of paper.
Attach additional sheets, if necessary)

.|uriscliction
(Reason your case is being filed in federal court1

 

 

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(ZCU‘,)“] Oc.{p,. 100 (’_l) Statement ofC|aim:

(State here as briefly as possible the facts of your case )

 

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EE.Dei`endants promised to pay plaintiff for the sale of all vendors’ courseware sold in
Defendants locations that included any subject matter of healthcare information
technology regardless of who owned the courseware on the grounds that Plaintifi" s’
products in Defendants locations included various vendor-developed courseware’s.

Defendants have refused to pay Plaintiff

FF. 7) Both Defendants promised Plaintift` and confirmed that both Defendants Would pay
plaintiff 25% of 15,840 students’ tuition for 5 years, regardless to the fact that any
products were sold or not (see agreements under fee secticn). ln addition, Det`endants
submitted that same promise and confirmation of payment to Plajntift` of 25% of 15,840

anticipated students' tuition to the state of Michigan for approval Both Defendants have
reihsed to pay Plaintiff.

CAUSES OF ACTION

1 Amelia L. Butler claims and com laints a ainst both Defendants se aratel include:

 

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17) DefendaLsBreacl_lnf the Contracts: Amelia L. Butler are separately claiming that both
Defendants separately have breached and violated the contracts and licensing agreements labeled
Agreement #2, 179 l through 12, and Agreement #5, lHCITSC l through 13, on the grounds cfr
A. Both Det`endants negotiated with NH WEST MICH'IGAN, LLC, New Horizons Computen
Learning Center, NEW HORIZONS - GRAND RAPIDS, LLC, to implement Plaintifl‘
Butlers’ products into 2 of Defendants locations. Defendants provided proof of success of
the implementation and negotiation A year later, both Defendants completed an
additional negotiation with Fisk University, Defendants Ohio partners, and Med-Certs,
and Defendants have not made any payment to plaintiff

B. Both Defenda;nts negotiated with NI-l WEST MICHIGAN, LLC, New Horizons
Computer Learning Center, NEW HORIZONS ~ GRAND RAP]DS, LLC, to implement
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. Both Defendants refused to communicate, support, promote, maximize, and/or enhance

. Both Defendants refused to communicate, support, promote, maximize, and/or enhance

. Both Defendants refused to allow Defendants alleged courseware review team to

. Both Defendants refused to allow Mr. Scott McLean to communicate, support, promote,

A. Neither Defendants ever provided clear communication about who was to be the point of

B. Neither Defendants ever provided any clear communication and refused communication
with plaintiff after receiving all of Plaintiff s’ products

C.Both Defendants allowed Scott McLean to act as a support person and course evaluath

without having knowledge of the healthcare technology Held. The agreements state that

D.Both Defendants named above admitted to breaching both of the contracts and license

 

 

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Plaintiff Butlers’ products and inte actual property into 2 of Defendants locations
Defendants provided proof of success of the implementation and negotiation A year
later, both Defendants completed an additional negotiation with Fisk University,
Dei`endants Ohio partners and Med-Certs, without contacting Plaintiff for approval

plaintiff products as stated in the contracts with Scott McLean as it pertains to the
licensing agreements and both Defendants New Horizon Great Lalces I-loldingl
Corporation, and M & J L.L.C. DBA New Horizons Leaming Centers New Horizon
Great Lakes Holding’s contractual obligations with Plaintiff.

plaintiff products with any of Defendants staH at New Horizon Great Lakes Holding.
Corporation, and M & l LLC about both Agreements

communicate, support, promote, maximize, and/or enhance Plaintiff products
maximize, and/or enhance Plaintiff products

contact for each contract

each person shall have knowledge and be competent in the field of healthcare technology

agreements signed that include licensing agreements labeled Agr'eement #2, 179 l through
12, and Agreement #5, lHClTSC l through 13

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E. Both Defendants named above admitted to breaching and/or violating the non-compete

agreement provisions stated in both contracts and defendants refused communication with

plaintiff

F. Both Defendants named above admitted to breaching the contract by both Defendants

deliberate abandonment of the contract provisions

G.Both Defendants have violated and breached the agreements stated herein which include

300-575 breaching violations, including the stated violations herein

H.Both Defendants have stated in legal documents that they are refusing to offer, promote,
and maximize Plaintiff s’ programs and products properly under the agreed upon terms
For example, the Defendants were oH`ering and promoting the program at two locations in
the state of Michigan until March 12, 2013, and subsequently removed the programs
which violated the contract provisions Following this, Defendants gained permission from
the state of Ohio to sell the Plaintitf s’ Butlers’ programs in one of their Ohio locations
beginning on .luly 31, 2013, with proper permission from plaintiffs ln addition,
Defendants gained profit nom Fisk University beginning in 2013, and h'om Med-Certs
LLC both of which were using Plaintift` s’ products

i. Defendants M&J L.L.C. DBA New Horizons Learning Centers New Horizon Great Lakes
Holding Corporation breached the contracts by not paying Plaintifi` s’ 25 percent of all-
tuition and licensing fees, which include 312,000.00 per location as agreed upon in the
contracts signed

J. Defendants New Horizon Great Lalces Holding Corporation breached the contracts by not
paying Plaintit`f s’ 25 percent of_all tuition and licensing fees, which include 312,000.00

per location as agreed upon in the contracts signed

K.Both Defendants breached the contracts by refusing to follow the dispute resolution

agreement detailed in the contracts signed.

L. Both Defendants breached the contracts by reverse engineering Licensors’ HC~IT®

Products included in the signed agreements to be licensed and sold by the Defendants

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named above, which are more specifically identified as HC-IT® Application Specialist®,
HC-IT® lmplementation Specialist®, HC-l'l`® certifications H[M Entrance Exam®, and

selling them as their own

M. Defendants breached the contract on the grounds of Defendants having sold and offered

Plaintift` products to Fisl< University without permission of the licensors

N. Defendants breached the contract by sending a letter to plaintiff in June 2014 that stated

Defendants allegedly terminated the contract in November 2012, which would confirm
Defendants infringement on the Plaintift` s’ rights

O. Defendants breached the contracts for nonpayment to Plaintiff s.

P. Defendants breached the contracts on the grounds of nonpayment to Plaintitf s in
addition to the stated copyright infringement violations against Defendants herein, and the

stated trade secret infringement violations against Defendants herein

Q.Defendants obtained and conhrmed Ohio state approval for Plaintift` Butlers’ products
stated in the agreements to be sold and/or offered using healthcare technology themes of

various types at Defendants locations

R. The state of Ohio provided approval and conhrmation for all Plaintiff subject material,
courses course curriculum, learning objectives duration of each subject, course maps lab
exercises assessments subject review and all other materials as well as the methodology

for teaching the courses and programs without Plaintiff permission

S. Defendants sold, implemented , offered, and/or added Plaintiff products to Med Cert,
LLC, NH WEST MlCHlGAl\l, LLC, NH Cleveland, LLC, New l-Iorizons Computer
Learning Center, and NEW HORIZONS - GRAND RAPIDS, LLC,

T. Defendants stated in an email that Defendants removed some of Plaintiff s’ products and
refused to pay plaintiff for the agreed upon percentage of student tuition obtained and

anticipated for the products including the remaining products that were currently being

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sold in Defendants locations

 

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U. ) Both Defendants promised Plaintiff and confirmed that both Defendants would pay
plaintiff 25% of 15,840 students’ tuition for 5 years regardless to the fact that any
products were sold or not (see agreements under fee section). ln addition, Defendants
submitted that same promise and confirmation of payment to PlaintiE of 25% of 15,840
anticipated students‘ tuition to the state of Michigan for approval. Both Defendants have

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Plaintiff Amelia L. Butler §referred to as Plaintiff Butler herein) claims a__nd complg'_t§
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refused to pay Plaintiff.

18) Defendants violation and misappropriation of Plaintit`f Butlers’ trade secrets and
intellectual property under Chapter 19.108 RCW UN]FORM 'I`RADE SECRETS ACT,
and Defendants violation of Plaintiff Butlers’ trade secrets as pertaining to Trade Secret
Misappropriation (RCW 19.108, and RCW 19.108.900): PlaintiffAmelia L. Butler, owns all
the HC-IT trademarl<, trade secrets copyrights and all other intellectual property stated herein.
Both Defendants have violated Plaintiff Butlers’ , copyrights trade secrets and intellectual
property rights on the grounds of:
a) Both Defendants sold, offered, and/or added Plaintiff Butlers’ products into separate
organization that include : Med Cel't, LLC, Nl-l WEST MICH`[GAN, LLC, NH
l Cleveland, LLC, New Horizons Computer Learning Center, and NEW HORIZONS -
GRAND RAPIDS, LLC, New Horizons Computer Learning Centers - Great Lalces , New
Horizons Computer Learning Centers- Detroit , My CAA, New Horizons Computer

Learning Centers of Greater Michigan (Grand Rapids), New Horizons Computer

Learning Centers of Detroit l\/ll ( Livonia ), without proper permission

b) Both Defendants have violated, breached, and violated plaintiff Butlers’ property rights

stated herein that include the 300-575 additional violations including the ones stated

herein violations

c) Both Defendants stated in an email that Defendants removed and abandoned some of

Plaintiff Butlers’ products and reinsed to pay plaintiff for the percentage of student

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tuition Defendants obtained for the products, including the remaining products that were

still being sold in Det`endants locations

Both Defendants obtained and confirmed Ohio state approval for Plaintiff Butlers’
products Stated in the agreements to be sold and/or offered using healthcare technology

themes of various types at Dei`endants locations then defendants abandoned plaintiff

products, thereafter.

e) Both Defendants sold, implemented and offered Pla.intiff Butlers"' products to Fisk

University, Without permission

t) Both Defendants violated Plaintit’f Butlers’ trade secrets by reverse engineering and/or

creating similar products and business models to Licensors’ HC-IT® products, which
were included in the signed agreements to be licensed and sold by Defendants named
above, which are more specihcally identified as HC-l"l`® Application Specialist®, HC-
lT® lmplernentation Specialist®, HC-lT® ccrtitications, HlM Entrance Exam®, and

selling them as their own

g) Both Defendants violated Plaintiff Butlers’ trade secrets by selling any products at any

time using a healthcare technology theme, design, and/or business model at Defendants
locations, without defendants being in compliance with the licensing agreements stated

herein

h) Both Det`endants violated Plainti:ff Bntlers’ trade secrets by selling and/or implementing

any products at any time using a healthcare technology theme, design, and/or business
model at Defendants locations, Fisk University and MedCerts, LLC without defendants

being in compliance with the licensing agreements stated herein

Both Defendants violated Plaintiff Butlers’ trade secrets by obtaining a license from the
state of Ohio to sell Plaintiff Bntlers’ products in Ohio, without defendants being in

compliance with the licensing agreements stated herein

j) Both Defendants have falsely used in commerce words, terms, names, symbols, or_

devices, and/or combinations thereof of Plaintiff Butlers’ work and other work offered at

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Defendants locations ln addition, Defendants has provided false designation of origin,
false or misleading description of the facts and false or misleading representation of facts

as pertaininth Plaintiff Butlers’ work and other works offered at Defendants locations

k) Both Defendants violated Plaintiff Butlers’ trade secrets separately by reverse
engineering and/or creating similar products and business models to the Licensors HC-
lT® Products included in the signed agreements to be licensed and sold by Defendants
named above, which are more specifically identified as HC-IT® Application Specialist®,
HC-IT® Implementation Specialist®, HC-IT® certifications H'[M Entrance Exam®, and

selling them as their own

l) Both Defendants violated Plaintiff Butlers’ trade secrets by selling any products at any

time using a healthcare technology theme, design, and/or business model at Defenclants

locations

m) Both Defendants violated Plaintiff Butlers’ trade secrets by selling and/or implementing
any products at any time using a healthcare technology theme, design, and/or business

model at Defendants locations Fisk University, and MedCerts, LLC, without permission
nom plaintiff

n) Both Defendants violated Plaintiff Butlers’ trade secrets by obtaining a license from the
state of Ohio to sell Plaintiff Butlers’ products in Ohio Additional violations include
statements in paragraphs # 18~ 20 herein.

o) Both Defendants promised Plai'ntiH and confirmed that both Defendants would pay
plaintiff 25% of 15,840 students’ tuition for 5 years, regardless to the fact that any
products were sold or not (see agreements under fee section). in addition, Defendants
submitted that same promise and confirmation of payment to Plaintiif of 25% of 15,840

anticipated students' tuition to the state of Michigan for approval. Both Defendants have
refused to pay Plaintiff s.

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19) Defendants violations of The Lanham Aet of 1946, also known as the Trademark Act
(15 U.S.C.A. § 1051 et seq., Ch. 540, 60 Stat. 427 {1988 & Supp. V 1993])011 the grounds of:
A. Both Defendants have been actively encouraging students to register for the Plaintiff
products at Defendants various locations infringing breaching and violating Plaintiff
Butlers’ trade secrets and content by denying that the programs exist in their locations
Defendants were also violating Plaintiff Butlers ‘copyrights, content, and trade
secrets which include curriculum, guides outlines learning goals, Plaintiff essentials
for student iearning, and the scope and sequence in which one introduces the
prioritized learning goals when Defendants openly paid the State Board Agency on
July 13, 2013 and openly implemented Plaintiff Butlers’ products at Fisk University in
2013 and at MedCerts in 2013 , This harmed and disseminated the content, trade
secrets and copyrights of the Plaintiff Butlers’. This had the result of infringing,
breaching and violating Plaintiff Butlers’ trade secrets and content as pertaining tc the
Ohio locations but not limited to those Ohio locations Defendants also paid for their
websites to host and promote links to iniiinged content on Defendants servers.
Defendants have profited handsomely from this copyright infringement by charging

tuition to student users who wish to download content andfor access the content nom

Defcndants servers

B. Both Defendants provided false and/or misleading descriptions of Plaintiff Butlers’
products and falsely provided misleading representation of Plaintiff Butlers’ products
something which has likely caused conii.ision over Plaintiff Butlers’ products including
deception over the affiliation between plaintiff and Defendants s. ln addition, Defendants
misrepresented in commercial advertising and promotion the nature, characteristics

qualities and!or geographic origin of Plaintiff Butlers’ goods services and/or commercial

activities

C. Both Defendants have falsely used in commerce words terms names symbols
devices and/or combinations thereof of Plaintiff Butlers’ work and other work offered
at Defendants locations ln addition, Defendants are providing false designation of

origin, false or misleading description of the product and false or misleading

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representation of facts as pertaining to Plaintiff Butlers’ work and other works offered

at Defendants locations

D.Both Defendants violated Plaintiff Butlers’ trade secrets by reverse engineering and/or
creating similar products and business models to the Licensors’ HC-IT® Products
included in the signed agreements to be licensed and sold by Defendants named above,
which are more specifically identified as HC-IT® Application Specia.list®, HC-IT®
lmplernentation Specialist®, HC-IT® certifications HBVI Entrance Exam®, and

selling them as their own

E. Both Defendants violated Plaintiff Butlers ‘trade secrets by selling any products at any
time using a healthcare technology theme, design, and/or business model at

Defendants locations

F. Both Defendants violated Plaintiff Butlers’ trade secrets by selling and/or
implementing any products at any time using a healthcare technology theme, design,
and/or business model at Defendants locations Fisk University, and MedCerts LLC

A.Both Defendants violated Plaintiff Butlers’ trade secrets by Defendants gaining a license
from the State of Ohio to sell Plaintiff Butlers’ products in Obio Additional violations
include statements in paragraphs # 18 and #20 herein.

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20) Defendants violation of Copyright infringement 17 USC § 501 - on the grounds of:
A. The copyrights trade secrets and intellectual property ownership provisions in both

Agreements are clear in their provisions that state Plaintiff Butler is the sole owner of what
is collectively called HC-IT® Products (See Exhibits HCITSC 188-215, 296-301,
Agreement #2 pg. 9, Agreement #5 pg. 10, and 49 DD 1-64). Under the law, a license
agreement between Plaintiff and Defenclants protects Plaintiff Butlers’ rights as stated in
case law, “Arizona Cartridge Rernanufacturers Association lnc. v. Lexrnark internation_a_l
lnc. ProCD, lnc.v.Zeidenbcrg,E1 Microson v. Harrnony Con;lputers,[]'l Nove]l v. Network
Trade Centerl§l and Ariz. Cartridge Remanufacturers Ass' n v. Lexmarl< Int'l lnc. [9] (Rz')

 

Defendants agreed that they do not currently have nor have they ever before created
reference numbers 90344442, 90190418, ISBN number 9780615447766, Healthcare

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. As stated in the HCITSC licensing agreements all Healthcare IT Network Technician,

. Plaintiff Amelia L. B'utler has provided proof of copyright registration and have satisfied

 

 

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Informatz'on Technolo§), flee Soflware and Hardwore Focus: Critical Facl‘or.s'for EMR
Implementaz‘ion, the title and/or series Health Care lnformation Technology, The Software
and Hardware Focus reference number 90049482, Healthca.re Information Technology,
HC~IT®, HC-l'l`® exams Healthcare hiformation Technology or HC-l'l` department,
Healthcare lnformation Technology and/or HC-IT® publications Healthcare Inforrnation
Technology and/or HC-IT® courses and/or any Healthcare Information Technology
and/or HC~IT® afliliations. l_-lowever, Defendants are selling and/or have sold 90344442,
90190418, ISBN number 9780615447766, Healthcare Informatz'on Technology, The
Soji‘ware and Hardware Focus: Crirz'cal Facrors]br EMR Implementation, the title and/or
series I-Iealth Care Information Technology, The Software and Hardware Focus, reference
number 90049482, Healthcare Information Teclmology, I-IC-IT®, HC-IT® exams
Healthcare lnformation Technology or HC-IT departrnent, Healthcare lnformation
Technology and/or HC~IT® publications Healthcare lnformation Technology and/or HC-
IT® courses and/or any I-Iealthcare lnformation Technology and/or I-IC-IT® affiliations
during August 2012 into the year of 2015 .

Healthcare lT Professional, Healthcare IT programs Healthcare IT Technician, Health
Inforrnation Management Technician, Health Information Support Specialist, Health
lnformation Technician, Healthcare IT Support Technician, and Healthcare Support
Worker programs in addition to the other programs stated and any complication of the
work, at any of Defendants locations are the property of Plaintiff Butler , but Defendants

are claiming ownership of these items without permission .

the requirement of ownership of all products that include, but are not limited to, the
following: 1Xu001904509, TXu001'730184, TXu001904512, TX0007888'758,
'I'Xu001683683, Trademark registration numbers 90344442, 90049482, 90190418,
ISBN#s: 9780615447766, Crz'tz'cal Factors for Medz'cal Sfystems Implemem‘ation; ISBN#
9780615447766, Crz`rz`cal Simr`laritt`es and Di]j%rences in the Fz`elds ofHeulth Information
Managemenf, Healthcare Information Technology, Health Informatics, and Health
Informatr'on Adminz`stran'on that You Musr Know Before the HIMEntrance Exam®; ISBN-

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13 9780615555966, Study Guz'de and HIM Entrance Exam®; ISBN# 978- 0615578606,
Healrhcare Informatr'on Technology Dicrr'onary and Rej%rence Guide ISBN~13 » 978~0”
9859527-9-2, Health Care Informatz'on Technology - The Har'ctware and Software Focus.‘
Critical Facrors for EMR Implementation; ISBN-l3: 978-0615447773, all Healthcare IT
Network Technician, Healthcare IT Professional, Healthcare l'l` programs Healthcare IT
Technician, Health lnformation Management Technician, Health Information Support
Specialist, I~l`ealth Information Technician, Healthcare 1'1` Support Technician, and
Healthcare Support Worker programs in addition to the other programs stated and any
complication of the work, at any of Defendants locations are the property of Plaintiff

Butler , but Defendants are claiming ownership of these items without permission

D. Defendants violated Plaintiff Butlers’ intellectual property rights and rights to protection
of copyrights by reverse engineering Plaintiff s’ copyrights and Defendants offered and

created the same product against the contract provisions

E. plaintiff satisfied all requirements for protection of Plaintiff Butlers’ copyrights and
intellectual property and trade secrets as detailed in the PlaintiE Confldentiality
Agreement and Contracts Provisions Usage Guidelines and HCITSC Copyright Clause,
which states: “For the purpose of this Business Agreement, Business to Business
relationship and relationship all work performed, done, completed, requested to be
completed, created, any and all other works copyrights exclusive rights related rights
neighboring rights Works subject to copyright, exclusive rights granted by copyright,
moral rights right to be credited for the work and Copyright as property right is/are owned
wholly, owned, legally, solely, rights of Plaintiff Butler

Defendants Had Access.
21) “Proof of access requires only an opportunity for Defendants to view or to copy Plaintiff
Amelia L. Butler’s work.” Plaintiff supplied PlaintiffButlers’ products and work to Defendants

under a Licensing Agreernent, Which establishes Defenclants “opportunity to view or to copy

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PlaintiffButlers’ wor ”

 

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Programs Irnplemented in the Ohio Locations, Fisk University and MedCert, LLC are the
same and/or Substaotially Similar to Plaintiff s’ Copyrighted Work
22) A two~part test is used in adjudicath substantial similarity. “[T]he ‘extrinsic’ test considers
whether two works share a similarity of ideas and expression based on external, objective
criteria,” and the “intrinsic test asks Whether an ‘ordinary, reasonable observer’ would find a
substantial similarity of expression of the shared idea.” Programs described by Defendants on
their website and Defendants advertisement for the Obio locations and advertisement for all
other locations that include MedCerts and Fisl< University as it pertains to the products and
Agreements, and Defendants deliberate submission of the explanations and use submitted to the
State Board of Career Colleges and Schools in various states, are materially identical to Plaintiff
Butlers’ products-a copyrighted work. Under the law, a License Agreement protects Plaintiff
Butlers’ rights and plaintiff rights. Microsoft v. Harmony Computers stated herein. Defendants
added and implemented plaintiff butlers’ programs and property into Med Cert, LLC, NH WEST
MICHI[GAN, LLC, NH Cleveland., LLC, New Horizons Computer Learning Center, and NEW
HOR_IZONS - GRAND RA.PHJS, LLC, New Horizons Computer learning Centers - Great
Lakes, New Horizons Computer Learning Centers- Detroit, My CAA, New Horizons Computer
Learning Centers of Greater Michigan (Grand Rapids), New i-Iorizons Computer Learning

Centers of Detroit MI (Livonia), without proper permission

Additional Elements of plaintiffs’ claims for relief:

1. Defendants owe plaintiff money and payments as stated in the contracts and made
promises to Plaintiff as it states in the contract and the agreements, and defendants failed
to pay plaintiti` and failed to comply with the connects and the agreements Defendants

have failed to pay plaintiff . Defendants failure to pay plaintiff has caused serious injury
to plaintiff

2. Defendant breached defendants duties of care and defendants breached the contracts and

defendants refused to perform defendants duties of the contracts

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3. Plaintiff and plaintiff products and property suffereo© serious injuries due to defendant’s
intentional actions, Due to defendant’s actions and or lack of actions, and intentional
breach of contract, breach of contract, and harm to plaintiff property, and harm to
plaintiff stated herein. Plaintiff and plaintiff products and property suffered serious
injuries from defendants that include financial hardship, product depreciation, fmancial,
hardship , depreciation, benefit of use , life, liberty, property, damages stated herein ,
damages , health , due process , products enhancement , product promotion , products ,
communication , reputation , Damages awarded to claimant should take into
consideration that claimant has lots of pain and suffering due to defendants actions that
are both personal and business related that include: 1) The loss time in which claimant
could have used the property. 2) Losses associated with increases in the property’ s
values 3) Losses connected with interest rates on the property.4) Loss of business and
punitive damages 5) defendants actions against Plaintiff also involved factors of malice,
ill will, disregard of rights or recklessness on the part of the defendants 6) Plaintiff is
requesting time of damages on the grounds of: A) The Value of plaintiffs’ property is
usually calculated according to the fair market value at that time B) defendants
transported plaintiffs property to different regions and this resulted in an increase in the

property’s value C) Plaintiff had a unique use for the property and sentimental value to
them.

4. These injuries were the result of Defendant’s actions stated herein, and stated herein in

plaintiffs claims and stated herein in CAUSES OF ACTION stated, and plaintiffs

claims and complaints

 

 

 

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23) 'I'here are two separate, stand-alone license Agreements that clearly include the Licensor
Usage Guidelines. These agreements are clear that the venue shall be in King County,

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Statement of Claim
(continued):

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Relief:
(State briefly exactly What you Want the court to do for you)

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(State briefly exactly what you want the court to do for you)

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(State briefly exactly What you Want the court to do for you)

 

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Definitions as they pertain to reading this complaint include:

A. “Plaintiff Butler “ and or “Plaintiff Butlers”’ is
defined as both Amelia L. Butler et al, and or Amolia Butler ,and or plaintiff

B. References numbers for case:

Reference number: AAA Case #01~14-0001-0889 and 75~458-Y-000373-13

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Signed
Amelia Butler pro~se

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CERTIFICATE OF MAILING
I, Amelia Butler hereby certify that a copy of this document wl\\ bg in gm g y

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All named including;

1. Ben Greenburg 701 Fifth Avenue, Suite 6100, Seattle, WA 98104_7043; and Peter
Ehrlichman m ehrlichman.neter@dorsev.com: Columbia Center, 701 Fifth Avenue, Suite
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14115 Fannington Rd., Livonia, MI 48154 -- contact person: Mark A. McManus -
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Corporation assumed names include: NEW HORIZONS COMPUTER LEARNING
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Signed

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